     Case 3:16-cr-00131-BAS Document 302 Filed 10/21/20 PageID.1908 Page 1 of 1




 1
 2
 3
 4
 5
 6
 7
 8
 9                              UNITED STATES DISTRICT COURT
10                         SOUTHERN DISTRICT OF CALIFORNIA
11     UNITED STATES OF AMERICA,               Case No.: 16CR0131-BAS
12                 Plaintiff,
13           v.
                                               JUDGMENT AND ORDER
14     PRIME HOLDINGS INT., INC.,              DISMISSING CHARGES
15                 Defendant.                  WITHOUT PREJUDICE
16
17
18
19          The charges in the indictment against the captioned defendant are dismissed without
20 prejudice.
21
22 IT IS SO ORDERED.
23
24       DATED: 10/21/2020
                                                        Hon. Bernard K. Skomal
25                                                      United States Magistrate Judge
26
27
28
